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Rosen, Kantrow & Dillon, PLLC
Counsel to Debtor In Possession
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Huntington, New York 11743
631 423 8527
Avrum J. Rosen


UNITED STATES BANKRUPTCY COURT                                          RETURN DATE: 4/26/2018
EASTERN DISTRICT OF NEW YORK                                            TIME: 3:30 p.m.
----------------------------------------------------------------x
In re:                                                                  Chapter 7

         84 ELTON LLC,                                                  Case No.: 18-40038-nhl

                                    Debtor.
----------------------------------------------------------------x
THE ESTATE OF RAFAEL RODRIGUEZ,                                         Adv. Pro. No. 18-1004-nhl
GEORGE RODRIGUEZ, and
PULASKI STREET CORP.,

                                   Plaintiffs,

         -against-

KONITZ I INC.; SHABSI PFEIFFER, individually,
and in his capacity as an officer of Konitz I Inc.;
RODRIGUEZ 319 & 321 CORP.; NAZRUL ISLAM,
individually and in his capacity as an officer of
Rodriguez 319 & 321 Corp.; 84 ELTON LLC;
B & H ASSOCIATES GROUP LLC; and
BERNARD NIEDERMAN, individually and as a
member of 84 Elton LLC and a member of
B & H Associates Group LLC,

                                    Defendants.
----------------------------------------------------------------x

        DEBTOR’S MOTION SEEKING SUMMARY JUDGMENT PURSUANT TO
        RULE 7056 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

         84 Elton LLC, debtor and debtor-in-possession and a defendant in the above captioned

adversary proceeding (“Debtor”), by and through its attorneys, Rosen, Kantrow & Dillon, PLLC,

respectfully submits this as and for Debtor’s motion for summary judgment (“Motion”) in favor

of Debtor as against plaintiffs: (i) the Estate of Rafael Rodriguez (“Rodriguez Estate”); (ii) George
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Rodriguez (“George”); and (iii) Pulaski Street Corp. (“Pulaski Corp.”) (collectively, “Plaintiffs”)

on all of Debtor’s defenses to all claims in the complaint (“Complaint”) improperly alleged against

Debtor and states as follows:

                                           EXHIBITS

        1.     Debtor relies upon the following documents, all of which are annexed hereto, in

support of this Motion:

               a.     Deed to Pulaski Corp. - Exhibit “A”;

               b.     Rafael Rodriguez Death Certificate - Exhibit “B”;

               c.     Order Appointing Administrator - Exhibit “C;

               d.     Deed to Rodriguez 319 & 321 Corp. - Exhibit “D;

               e.     Deed to Debtor - Exhibit “E”;

               f.     Release of Claims - Exhibit “F”;

               g.     Complaint - Exhibit “G”;

               h.     Notice of Pendency - Exhibit “H”;

               i.     Debtor’s Motion to Dismiss - Exhibit “I;

               j.     Order transferring to Surrogates Court - Exhibit “J”.

                                JURISDICTION AND VENUE

        2.     This adversary proceeding relates to Debtor’s above-captioned Chapter 11

bankruptcy proceeding pending in the United States Bankruptcy Court for the Eastern District of

New York and is a “core proceeding” as that term is defined in 28 U.S.C. § 157(b)(2)(F), (H), and

(O).

        3.     The statutory predicates for the relief sought herein are Rules 7001 et seq. of the

Federal Rules of Bankruptcy Procedure (“Bankruptcy Rule”).



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       4.      Venue of Debtor’s Chapter 11 case and of this adversary proceeding in this district

is proper under 28 U.S.C. §§ 1408 and 1409.

                                            PARTIES

       5.      Upon information and belief, Rafael Rodriguez (“Mr. Rodriguez”) was a resident

of the State of New York, who passed away in 2010 and was the sole shareholder of Pulaski Corp.

The Rodriguez Estate is a legal entity created under operation of law to liquidate and administer

the assets of Mr. Rodriguez, after his death.

       6.      Upon information and belief, George Rodriguez was and is a resident of the State

of New York, who resides at 383 Pulaski Street, Brooklyn, New York 11206. Rodriguez, upon

information and belief, is an heir of the Rodriguez Estate.

       7.      Upon information and belief, Pulaski Street Corp. was a New York domestic

business entity, incorporated pursuant to the laws of New York, and is no longer active.

       8.      Debtor is a New York Corporation, with its corporate office located at 5904 18th

Avenue, Suite 48, Brooklyn, New York 11204 and its physical asset located at 321 Pulaski Street,

Brooklyn, New York 11216. Debtor is a single asset real estate entity.

                         UNDISPUTED FACTUAL BACKGROUND

       9.      By the Statement of Undisputed Facts (“7056 Statement”) under Rule 56(c)(1) of

the Federal Rules of Civil Procedure (“Federal Rules”), applicable in this adversary proceeding

under Bankruptcy Rule 7056, Debtor respectfully submits the following facts are undisputed. The

7056 Statement shall be filed with the Court in conjunction with this Motion. Plaintiffs have failed

to participate in any manner in this adversary proceeding, thus the 7056 Statement is not a jointly

submitted statement.




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         10.   On January 3, 2018 (“Petition Date”), Debtor commenced a voluntary petition for

relief from its creditors under Chapter 11, Title 11, United States Code (“Bankruptcy Code”).

Debtor is a Debtor in Possession; no trustee or creditors’ committee has been appointed in this

case.

         11.   Debtor is the fee simple owner of the real property commonly known as 321 Pulaski

Street, Brooklyn, New York, identified under Block 1594, Lot 61, in the County of Kings (“Real

Property”). The Real Property is a 20’ x 100’ lot, improved by a fully attached three (3) story, two

(2) family residence, defined by 2,100 square feet of living space. The Real Property is not

presently inhabited by any tenants.

         12.   Upon information and belief, as revealed in certain documents maintained by the

New York City Department of Finance, which are publicly available on its Automated City

Register Information System (“ACRIS”), on or about September 12, 1986, Mr. Rodriguez

purchased the Real Property from Andrew Jackson and Martha Jackson, and held the Real Property

in Fee Simple ownership.

         13.   Upon information and belief, as revealed in ACRIS, on or about April 5, 1994, Mr.

Rodriguez transferred the Real Property to his solely held, single real estate entity, Pulaski Corp.

Pulaski Corp. held title to the Real Property in Fee Simple ownership. A true and accurate copy

of the deed transferring the Real Property from Mr. Rodriguez to Pulaski Corp. is annexed hereto

as Exhibit “A”.

         14.   Upon information and belief, on or about October 15, 2010, Mr. Rodriguez passed

away. A true and accurate copy of the Certificate of Death issued on behalf of Mr. Rodriguez by

The City of New York, Department of Health and Mental Hygiene is annexed hereto as Exhibit

“B”.



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       15.    Upon information and belief, subsequent to Mr. Rodriguez’s death, letters of

administration were issued by the New York State Surrogates Court, County of Kings (“Surrogate

Court”), to the Kings County Public Administrator, to oversee the Rodriguez Estate. On or about

June 12, 2015, the Surrogate Court issued an Order: (i) revoking the Letters of Administration to

the Public Administrator; and (ii) appointing Mr. Rodriguez’s son, Ivan Rodriguez, as the

administrator of the Rodriguez Estate. A true and accurate copy of the Surrogate Court Order is

annexed hereto as Exhibit “C”.

       16.    As revealed in certain documents maintained in ACRIS, on or about February 11,

2014, Rodriguez 319 & 321 Corp. purchased the Real Property from Pulaski Corp. George

executed the deed conveying the Real Property to Rodriguez 319 & 321 Corp. on behalf of Pulaski

Corp. Upon information and belief, Nazrul Islam is the sole owner of Rodriguez 319 & 321 Corp.,

who is also a defendant in this matter. A true and accurate copy of the deed conveying ownership

of the Real Property to Rodriguez 319 & 321 Corp. is annexed hereto as Exhibit “D”.

       17.    As revealed in certain documents maintained in ACRIS, on or about July 24, 2014,

Debtor purchased the Real Property from Rodriguez 319 & 321 Corp. A true and accurate copy

of the deed conveying ownership of the Real Property to Debtor is annexed hereto as Exhibit “E”.

       18.    On or about August 19, 2014, George executed a release of claims (“Release”),

whereby George released and waived any and all claims related to the Real Property, based upon

the consideration he had previously received ($200,000.00 for the sale of the Real Property) and

the new value ($10,500.00) he received for the Release. A true and accurate copy of the Release

is annexed hereto as Exhibit “F”.

       19.    Prior to the Petition Date, on or about January 26, 2017, Plaintiffs commenced the

action styled The Estate of Rafael Rodriguez, George Rodriguez, and Pulaski Street Corp.,



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Plaintiffs against Konitz I Inc.; Shabsi Pfeiffer, individually, and in his capacity as an officer of

Konitz I Inc.; Rodriguez 319 & 321 Corp.; Nazrul Islam, individually and in his capacity as an

officer of Rodriguez 319 & 321 Corp.; 84 Elton LLC; B & H Associates Group LLC; and Bernard

Niederman, individually and as a member of 84 Elton LLC and a member of B & H Associates

Group LLC, Defendants, previously pending in the Supreme Court of the State of New York,

Kings County, Index No. 501730/2017 (“Supreme Court Action”), thereafter pending in the

Surrogate Court of the State of New York, Kings County, File No. 2014-1605/C (“Surrogate Court

Action”). A true copy of the Summons and Complaint is annexed hereto as Exhibit “G”.

       20.     On January 27, 2017, Plaintiffs’ filed a Notice of Pendency against the Real

Property, as is evidenced at Exhibit “H”.

       21.     Plaintiffs’ commenced the Supreme Court Action, against, inter alia, Debtor,

allegedly seeking to avoid the transfer of the Real Property from Pulaski Corp. to Rodriguez 319

& 321 Corp., and the subsequent transfer by Rodriguez 319 & 321 Corp. to Debtor. The complaint

is based upon unsubstantiated, self-serving, conclusory allegations of fraud in the inducement and

seeks to cancel the deed transfers, or, in the alternative, for a money judgment for the fair market

value of the Real Property.

       22.     Debtor timely filed a motion seeking dismissal (“Motion to Dismiss”) of the

Supreme Court Action on April 30, 2017. Debtor sought dismissal of the Supreme Court Action

against it, base inter alia: (i) upon the Release executed by George; (ii) George is not the sole heir

of the Rodriguez Estate, nor is he the representative of the Rodriguez Estate, thus the Rodriguez

Estate had no right to bring the action against Debtor. A true copy of the Motion to Dismiss,

without exhibits, is annexed hereto as Exhibit “I”.




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       23.        On July 19, 2017, in the Supreme Court Action, Justice Wavny Toussaint entered

an Order which “respectfully referred/transferred [the Supreme Court Action] to Surrogates Court,

Kings County. This action is directly related to a matter pending in Surrogates Court, under index

number 2014-1605.” A true copy of the Supreme Court Order is annexed hereto as Exhibit “J”.

                                           ARGUMENT

                    STANDARD FOR GRANTING SUMMARY JUDGMENT

       24.        In an abundance of caution, Debtor respectfully requests that should this Court

consider the prior Motion to Dismiss from the Supreme Court Action, that the Court deem such

motion to be converted to a motion for summary judgment. The principles which apply to an

application for summary judgment are well known: a court should grant summary judgment to a

moving party when there are no genuine issues with regard to material facts in dispute. Fed. R.

Civ. P. 56(c); see, also, In re Metro Affiliates, Inc., 2008 WL 656788 (Bankr. S.D.N.Y. 2008);

Hermes International v. Lederer de Paris Fifth Avenue, Inc., 219 F.3d 104, 107 (2d Cir. 2000).

Mere conclusory allegations are insufficient to create a genuine issue of fact. “Summary judgment

is proper when, after drawing all reasonable inferences in favor of a non-movant, no reasonable

trier of fact could find in favor of that party.” Heublein, Inc. v. United States, 996 F.2d 1455, 1461

(2d Cir. 1993).

       In assessing when summary judgment should be granted, “‘there must be more than
       a ‘scintilla of evidence’ in the non-movant’s favor; there must be evidence upon
       which a fact-finder could reasonably find for the non-movant.” Heublein v. United
       States, supra, citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252, 106 S.Ct.
       2505 (1986). A court must always “resolve ambiguities and draw reasonable
       inferences against the moving party,” King v. U.S. Fire Ins. Co., 804 F.2d 9, 11 (2d
       Cir. 1986); however, the non-movant may not relay upon “mere speculation or
       conjecture as to the true nature of the facts to overcome a motion for summary
       judgment. Id. at 12. Instead, “when the moving party has documented particular
       facts in the record, “the opposing party must ‘set forth specific facts showing that
       there is a genuine issue for trial.’” Williams v. Smith, 781 F.2d 319, 323 (2d Cir.
       1986) quoting Fed. R. Civ. P. 56(e). Unsupported allegations in the pleadings

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       cannot create a material issue of fact. Weinstock v. Columbia University, 224 F.3d
       33, 41 (2d Cir. 2000).

Authentic Fitness Corp. v. Dobbs Temporary Help Services, Inc. (In re Warnaco Group, Inc.),

2006 U.S. Dist. LEXIS 4263 (S.D.N.Y. 2006); see also Sklaroff v. Rosenberg, 125 F.Supp.2d 67,

71-72 (S.D.N.Y. 2000).

       25.     Summary judgment is to be granted where there is no genuine issue as to any

material fact and the moving party is entitled to judgment as a matter of law. Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 106 S.Ct. 2505 (1986); Celotex Corp. v. Catrett, 477 U.S. 317 (1986);

Lendino v. Trans Union Credit Information Co., 970 F.2d 1110 (2d Cir. 1992); In re Finley,

Kumble, Wagner, Heine, et al., 160 B.R. 882, 888 (Bankr. S.D.N.Y. 1993); In re Drexel Burnham

Lambert Group, Inc., 138 B.R. 687, 694 (Bankr. S.D.N.Y. 1992).

       26.     A party moving for summary judgment bears the burden of proving that there are

no triable issues of fact. In re A.C.E. Elevator Co., Inc., 2009 WL 32255381 (Bankr. S.D.N.Y.

2009). A movant may meet its burden of proof by showing that little or no evidence supports the

opposing party’s case. In re Lollipop, Inc., 205 B.R. 682, 687 (Bankr. E.D.N.Y. 1997).

       27.     There is no genuine issue for trial when the record, taken as a whole, could not lead

a rational trier of fact to find for the non-moving party. See Matsushita Elec. Indus. Co. v. Zenith

Radio Corp., 475 U.S. 574, 585-87 (1986). “If there is evidence in the record as to any material

fact from which an inference could be drawn in favor of the nonmovant, summary judgment is

unavailable.” Mendelsohn v. Pappas (In re Pappas), 239 B.R. 448, 451-452 (Bankr. E.D.N.Y.

1999). See also, e.g., Holt v. KMI-Continental, Inc., 95 F.3d 123, 128 (2d Cir. 1996).

       28.     Once that burden has been met, the nonmoving party must set forth “specific facts

showing that there is a genuine issue for trial.” Matsushita, supra, 475 U.S. at 586. Inferences

drawn from the underlying facts will be viewed in the light most favorable to the nonmoving party.

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See Anderson v. Liberty Lobby Inc., 477 U.S. 242, 255 (1986); Matsushita, supra, 475 U.S. at 586.

Factual assertions made are deemed admitted unless directly contradicted by an opposing

statement. See Pereira v. Private Brands, Inc. (In re Harvard Knitwear, Inc.), 193 B.R. 389, 396

(Bankr. E.D.N.Y. 1996) (citing cases).

       29.     “The court's responsibility is ‘carefully limited to discerning whether there are any

genuine issues of material fact to be tried, not to deciding them. Its duty, in short, is confined at

this point to issue-finding; it does not extend to issue-resolution.’” In re Pappas, supra, 239 B.R.

at 451-452 (quoting B.F. Goodrich v. Betkoski, 99 F.3d 505, 522 (2d Cir. 1996) quoting Gallo v.

Prudential Residential Servs., L.P., 22 F.3d 1219, 1224 (2d Cir. 1994). See also, e.g., In re

Chateaugay Corp., 155 B.R. 636 (Bankr. S.D.N.Y. 1993)(“The Court’s role in ruling on a motion

for summary judgment is not to resolve disputed issues of fact but to assess whether there are any

factual issues to be tried, while resolving ambiguities and drawing reasonable inferences against

the moving party” [citations omitted].)

       30.     The Court's task when considering a summary judgment motion is not to “weigh

the evidence and determine the truth of the matter but [to] determine whether there is a genuine

issue for trial.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249 (1986). The papers which

may be reviewed by the Court in considering summary judgment motions include not only the

pleadings, but also depositions and other examinations, answers to interrogatories, requests for

admission and other discovery, and affidavits submitted in connection with the motion. J.P.

Morgan Financial Corp., 124 B.R. 926; In re Suburban Motor Freight, Inc., 124 B.R. at 992; In

re Wedtech Corp., 165 B.R. 140 (Bankr. S.D.N.Y. 1994).

       31.     It is respectfully submitted that based upon the undisputed facts in this action, as

set forth herein, and as more fully set forth in the 7056 Statement, and based upon the legal



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arguments below, Debtor is entitled to summary judgment, as a matter of law, on all its defenses

to the causes of action contained in Plaintiffs’ Complaint.

                     THE RELEASE IS BINDING UPON PLAINTIFFS

       32.     Based upon the clear and unambiguous wording of the Release, all claims in the

Complaint as asserted against Debtor must be dismissed.

       33.     As set forth in the Release, see Exhibit “F”, George:

               1.      hereby waives any and all claims to 321 Pulaski Street, Brooklyn,
                       New York [Real Property] for the payment of the sum of Ten
                       Thousand Five Hundred ($10,500) and 0/100 dollars…

               2.      further acknowledges that [sic] he executed the letter of July 25,
                       2014 in which he acknowledged that he previously received the sum
                       of $200,000 from Nazrul Islam or his agents for said property…

               3.      agrees that this $10,500 is the final payment to satisfy any all claims
                       against the new owner, 84 Elton LLC [Debtor] and prior owner
                       Rodriguez 319 and 321 Corp.

       34.     The Release further directed that counsel for George, Nan K. Bedesi, Esq., be paid

the sum of one thousand dollars ($1,000.00) for his “representation in this matter [the Release].”

Furthermore, attorney Bedesi is the party that notarized the Release on behalf of George. Thus it

is clear that George had independent counsel and representation with respect to the scope of the

Release, and further that George received new value consideration for the execution of the Release.

       35.     The Release, as contained within the “four corners” of the document, expressly and

unambiguously “waive[d] any all claims to 321 Pulaski Street, Brooklyn, New York.” As a result,

Plaintiffs have no claims or causes of action as against Debtor, under the express terms of the

Release. Respectfully, this Court should grant Debtor summary judgment as against Plaintiffs.

       36.     In a case of similar facts, In re Kenston Management Co., 137 B.R. 100, 103

(Bankr. E.D.N.Y. 1992), former Chief Judge Duberstein was presented the circumstance of a



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debtor commencing an adversary proceeding seeking the turnover of certain monies against

lessees; defendants moved for summary judgment based upon their reliance of a release executed

by debtor pre-petition.

        37.    Judge Duberstein, based upon the clear and unambiguous language of the release

there at hand, granted defendants motion for summary judgment. Id. at 113.

        37.    Specifically, the Kenston Court noted, with respect to the public policy issues

supporting the validity and enforceability of a release, as sufficient grounds to grant defendants’

motion for summary judgment:

               [W]hen, as here, an unambiguous release is signed knowingly and
               voluntarily in a commercial context by parties in a roughly equal bargaining
               position with access to counsel, the general rule is that the language of the
               release indicates the intent of the parties. Locafrance U.S. Corp. v.
               Intermodal Systems Leasing, Inc., 558 F.2d 1113, 1114 (2d Cir. 1977); See
               Appel v. Ford Motor Co., 111 A.D.2d 731, 732, 490 N.Y.S.2d 228, 229
               (1985). The language of the release in the present case makes it clear that
               the Debtor has released the Defendants of all claims. If the release was
               intended to entail a condition precedent, then its wording should have so
               indicated. Gerry's Gen. Contracting Serv., Inc. v. The Philippines, No. 86
               Civ. 3266(PKL), 1987 WL 16369, at *2 (S.D.N.Y. Aug. 21, 1987).

               Whereas this Court finds the release is clear and unambiguous on its face,
               the parol evidence rule excludes “extrinsic evidence of prior or
               contemporaneous negotiations between the parties offered to contradict or
               modify the terms of [the] writing.” Marine Midland Bank-Southern v.
               Thurlow, 53 N.Y.2d 381, 387, 442 N.Y.S.2d 417, 419, 425 N.E.2d 805
               (1981); See also G. S. C. Holding Corp. v. Cervoni, 69 A.D.2d 809, 810,
               415 N.Y.S.2d 57, 59 (2d Dep't 1979).

               In addition, this Court recognizes that releases play a crucial role in the
               resolution of disputes. A release is a “jural act of high significance without
               which the settlement of disputes would be rendered all but impossible."
               Mangini, 24 N.Y.2d at 563, 301 N.Y.S.2d at 513. As such, a release "should
               never be converted into a starting point for renewed litigation except under
               circumstances and under rules which would render any other result a grave
               injustice.” Id.

Id. at 111.



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       38.     The Kenston Court, in addressing the fact that the Bankruptcy Court is a court of

equity, but should refrain from imposing equity where the law and facts are clear, further held that:

               Equity should not intrude itself where knowledgeable parties contract and
               where they have not been overborne by actions of the other party. . . . the
               stability of the process and the public policy inherent in upholding the
               validity of freely negotiated contracts outweigh the call to do equity merely
               because the defendants find less [than they had hoped to find.] Id. at 868.

Id.

       39.     Similarly, Judge Wexler, in Omaha Indem. Co. v. Johnson & Towers, Inc., 599

F.Supp 215 (E.D.N.Y. 1984) granted defendants’ motion for summary judgment on all claims

based upon the express language contained within an enforceable release. In the action, plaintiff

asserted that it was entitled to money damages from the installation of substandard internal parts

of engines that were damaged and destroyed as a result; defendants sought summary judgment as

a result of a settlement agreement and a general release which extinguished all claims against

defendants. Id. at 217-18.

       40.     The Omaha Court, addressing the language of the release as grounds to justify

granting defendants’ summary judgment motion, held “[i]t is axiomatic that where the language

of an agreement is explicit and unambiguous the courts must give it its plain meaning. Paragraph

6 of the May 19th Stipulation is explicit and this Court declines to read in ambiguities or otherwise

alter its plain meaning.” Id. at 218. The Omaha Court further held that:

               Again, it is axiomatic that the courts may not go behind an agreement where
               its meaning is plain on its face. It is arguable that pre-printed forms do not
               reflect the full intent and purpose of the parties. Nevertheless, in this
               instance the Release was part of a negotiated settlement and was modified
               by the parties to reflect their agreement. It cannot be contended that the
               parties would modify the boilerplate language of the Release where needed
               in one respect and not in all respects. Where both parties were represented
               by counsel, bargained for the terms of settlement and release, and evidently
               could and did modify language to reflect the true terms of the agreement,
               they will be held to the plain meaning of their agreement.

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Id. 219.

       41.        Judge Wexler, in addressing the scope of a general release as a defense to a new

law suit, held:

                  in the more recent case of Mt. Read Terminal, Inc. v. LeChase Construction
                  Corp., 58 A.D.2d 1034, 396 N.Y.S.2d 959 (4th Dept. 1977), the Appellate
                  Division held that the general release would be construed against the
                  releasor, and that the release could be asserted as a defense to claims arising
                  both before and after its execution.

Id. at 220. Finally, the Omaha Court, in granting defendants’ summary judgment motion, ruled:

                  The Release in this case bars all claims against Johnson & Towers, those
                  existing at the time of the Release, both known and unknown. This is
                  dictated by both the law and the language of the Release. The result may
                  seem harsh, but it is the result Mr. Singer bargained for.

Id.

       42.        In the case at hand, George was represented by counsel during the negotiation and

execution of the Release. George received fair and new compensation in exchange for the Release.

The Release is plain on its face. The Release contains a clear and unambiguous statement by

George that all claims and causes of action related to Debtor’s purchase of the Real Property were

irrevocably waived and released. Equity should not intrude upon the plain meaning of the Release,

negotiated by the parties thereto, and executed with advice of counsel. Accordingly, this honorable

Court should grant Debtor’s Motion in its entirety.

                                            CONCLUSION

       43.        Debtor has proven, by uncontroverted documentary evidence, that: (i) its purchase

of the Real Property was a good faith, arms-length transaction; (ii) Plaintiffs’ by and through the

Release, released and waived any and all causes of action against Debtor with respect to the Real

Property; and (iii) Rodriguez has no standing to bring the action on behalf of the Rodriguez Estate,

as Ivan Rodriguez is the administrator of same.

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        44.     It is respectfully submitted that, as set forth fully above, the facts and circumstances

of this case mandate this Court granting summary judgment on behalf of Debtor as against

Plaintiffs jointly and severally.

        WHEREFORE, Debtor respectfully requests that its Motion for summary judgment be

granted in its entirety on all of its defenses to the causes of action in the Complaint, and that the

Notice of Pendency presently impairing the title of the Real Property be removed, together with

such other and further relief as the Court deems to be just and proper.

Dated: Huntington, New York
       April 2, 2018

                                                        Rosen, Kantrow & Dillon, PLLC
                                                        Counsel for Debtor

                                                By:     /s/ Avrum J. Rosen
                                                        Avrum J. Rosen
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